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                                   STATEMENT OF FACTS

       Your affiant, Megan Kline, is a Special Agent with the Federal Bureau of Investigations
(FBI). As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. Currently, I am tasked with investigating criminal activity in and around the Capitol grounds
on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 11, 2021, the FBI received a tip regarding an individual, Jennifer Ruth Parks
(PARKS), who participated in the “DC mob” on January 6, 2021. The tipster shared a text message
screen shot between PARKS’ daughter and an unknown individual where PARKS’ daughter
wrote: “So depressed over all of the cheating in the election right now. Mom and her friend went
to Washington for the March. Wish I could have gone too. Lol.” PARKS’ daughter further wrote:
“We should all be climbing over those walls. They pushed us too far.”

        On January 17, 2021, PARKS was located and voluntarily interviewed. According to
PARKS, she attended the rally in Washington D.C. on January 6, 2021. PARKS believed she was
attending a peaceful rally in support of President Donald Trump. PARKS, along with Esther
Schwemmer (SCHWEMMER), entered the U.S. Capitol for “thirty minutes to one hour” after the
doors were broken. PARKS entered the Capitol Building through the front lower door with no
stairs. PARKS proceeded up a round staircase to the second floor and observed groups of people
praying and singing. PARKS sung the U.S. national anthem in a group on the second floor of the
building. PARKS attempted to exit the Capitol Building through the front door and was told by a
police officer not to exit there. PARKS was directed by another police officer to leave down a
hallway, and she exited the building at that time. PARKS was wearing a dark green jacket, a green
backpack, and jeans.

        On January 17, 2021, SCHWEMMER was located and voluntarily interviewed. According
to SCHWEMMER, she attended the rally in Washington D.C. on January 6, 2021, with her friend,
PARKS. SCHWEMMER and PARKS were eating food while they watched people running up to
the Capitol Building. SCHWEMMER recalled a police officer telling her not to climb on a barrier
to obtain a photograph. SCHWEMMER and PARKS then followed the crowd to another part
outside the Capitol Building and SCHWEMMER climbed a tree to obtain a photograph of a man
wearing a colonial jacket with a walkie talkie. SCHWEMMER provided the mentioned picture,
which is attached:
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        SCHWEMMER added that she heard members in the crowd suggest going to the front of
the Capitol building to conduct peaceful protesting. SCHWEMMER claimed that she and PARKS
walked to the front of the Capitol Building, encountered no barricades and no police officer told
them to stop. SCHWEMMER saw the open doors to the U.S. Capitol Building and entered with
PARKS. They entered the building through the lower door in the front and went straight to the
“roundabout” area. SCHWEMMER described the building as “messy and smelled bad” so they
went upstairs. While upstairs, SCHWEMMER saw a female being released from handcuffs and
escorted out of the building. SCHWEMMER stated police were around them and letting them walk
around. As soon as a police officer told them to leave, SCHWEMMER and PARKS left the
building. SCHWEMMER was wearing a brown Carhartt type jacket, a Trump 2020 flag wrapped
around her, a backpack, and a Make America Great Again beanie hat. SCHWEMMER provided
the attached photograph of her and PARKS taken outside of the Capitol Building:
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       Records obtained pursuant to a search warrant indicate that PARKS’ cellular phone,
associated with telephone number 913-727-2610 was present inside the Capitol on January 6, 2021
from approximately 19:29:27 UTC to 19:44:36 UTC.

        During the course of the investigation, law enforcement recovered video footage from both
outside and within the U.S. Capitol Building on January 6, 2021. In this footage, law enforcement
located images of an individual who appears fully consistent with PARKS’s and SCHWEMMER’s
appearance (based on photograph provided by SCHWEMMER).
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jennifer Ruth PARKS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
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        Your affiant submits there is also probable cause to believe that Jennifer Ruth PARKS
violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _____________________________
                                                      Special Agent Megan Kline
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this _15th____ day of April 2021.


                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
